                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION

UNITED STATES OF AMERICA

      v.                                      CASE NO. 5:24-cr-97-TPB-PRL

DANIEL CHARLES BALL


        UNITED STATES’ MOTION TO DISMISS THE INDICTMENT
             WITH PREJUDICE PURSUANT TO FEDERAL
                RULE OF CRIMINAL PROCEDURE 48(a)

      The United States of America, by and through the undersigned Assistant

United States Attorney, respectfully submits this motion to dismiss the indictment in

the above-referenced case.

      Pursuant to Federal Rule of Criminal Procedure 48(a), the United States

hereby moves to dismiss the indictment pending against the defendant, Daniel

Charles Ball, with prejudice. The United States cites to the Executive Order dated

February 20, 2025, Granting Pardons and Commutation of Sentences for Certain

Offenses Relating to the Events at or Near the United States Capitol on January 6,

2021, as the reason for this dismissal.
      Therefore, the United States respectfully requests that the Court enter an order

dismissing the above-referenced indictment with prejudice.



                                              Respectfully submitted,

                                              SARA C. SWEENEY
                                              Acting United States Attorney



                                      By: /s/ William S. Hamilton
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